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April 15, 2025

Via ECF
Hon. Mark W. Pedersen
United States Magistrate Judge
100 State Street
Rochester, New York 14614

        Re:        Singleton v. The City of Geneva et al., 23-cv-06359-EAW-MJP

Dear Judge Pederson:

We represent the Plaintiffs in the above-captioned action and write to respectfully request an
extension of time to identify expert witnesses. Plaintiff’s expert witness identification is currently
due April 17, 2025 and Defendants’ is due May 16, 2025. Plaintiff respectfully requests that his
expert witness identification be due June 1, 2025 and that Defendants’ expert witness identification
be due July 1, 2025.

Plaintiff brought the instant action for injuries he sustained when he was wrongfully prosecuted
and imprisoned by Defendants the City of Geneva (“City”) and Detective Steven Vine (“Vine”).
Specifically, he alleges causes of actions under 42 U.S.C. § 1983 (prosecution without probable
cause and due process violations against Vine); state law (intentional and/or negligent affliction
of emotional distress and malicious prosecution against Defendants, and negligent hiring,
screening, retention, supervision, and training and Monell claims against the City); and the state
constitution (violation of Article I, § 12 against Defendants).

Based on the nature of the instant action, Plaintiff is only looking to hire a police practices expert
and needs to complete Defendants’ depositions, including those of City employees with knowledge
of the underlying claim, before deciding whether such an expert is necessary. The parties are
currently working on scheduling depositions. Additionally, this amendment to the discovery
schedule would not impact the current discovery deadline, which is July 14, 2025.

Plaintiff discussed this request for an extension of time with Defendants, who indicated their
consent.

We thank the Court for considering this request.

Respectfully,

        /s/

Sara Wolkensdorfer



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